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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

CHRISTIE VAN, et al.,                    )
                                         )   Case No. 14-CV-08708
                    Plaintiffs,          )
                                         )   JUDGE MARTHA M. PACOLD
             v.                          )
                                         )   MAGISTRATE JEFFREY CUMMINGS
FORD MOTOR COMPANY,                      )
                                         )    JURY TRIAL DEMANDED
                    Defendant.           )


                                  NOTICE OF MOTION

      Please take notice that Plaintiffs, by and through their attorneys, will appear

before the Honorable Judge Jeffrey Cummings on Thursday, February 27, 2020 at the

hour of 11:30 a.m. or as soon thereafter as may be heard, in Room 1350 of the United

States Courthouse located at 219 South Dearborn, Chicago, Illinois and then and there

present the Plaintiffs’ Motion to Reset the Parties’ Deadline for Submitting a Settlement

Status Report and to Reset the Status Hearing.


                                         Respectfully submitted,

                                         /s/ Keith L. Hunt (electronic signed)
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                             CERTIFICATE OF SERVICE

      I hereby certify that I am an attorney in this cause and that I caused to be served

Plaintiffs’ Notice of Motion to Reset the Parties’ Deadline for Submitting a Settlement

Status Report and to Reset the Status Hearing on counsel for all parties of record as

listed below by email through the Court’s CM/ECF system on February 25, 2020.


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                               By: /s/ Keith L. Hunt (electronic signature)
                                  An Attorney for Plaintiffs




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